                                                                                  Motion GRANTED.
                        IN THE UNITED STATES DISTRICT COURT                       Hearing reset for
                       FOR THE MIDDLE DISTRICT OF TENNESSEE                       8/11/14 at 1:30 p.m.
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )       No. 3:13-00055
                                             )       JUDGE TRAUGER
BENJAMIN MARTINEZ-GONZALEZ                   )


                MOTION TO CONTINUE CHANGE OF PLEA HEARING

       COMES NOW the United States of America and moves the Court to continue the

defendant=s change of plea hearing presently set for July 25, 2014.

       The undersigned Assistant United States Attorney is scheduled to be out of town the week

of July 21-25, 2014.




                                                            Respectfully submitted,

                                                            DAVID A. RIVERA
                                                            United States Attorney


                                                           By: s/Harold B. McDonough
                                                            HAROLD B. MCDONOUGH
                                                            Assistant U. S. Attorney
                                                            110 9th Avenue South
                                                            Suite A-961
                                                            Nashville, Tennessee 37203




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